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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )      No. 09 CR 383
                v.                                )
                                                  )      Honorable Virginia M. Kendall
JOAQUIN GUZMAN-LOERA, et al.                      )

                              WITHDRAWAL OF COUNSEL

       Please take notice that Assistant United States Attorney Georgia N. Alexakis is no longer

assigned to this case.


                                            Respectfully submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney

                                            By:       s/ Georgia N. Alexakis
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June 30, 2021
